175 F.3d 1010
    Kenneth Winston Ashfordv.Steven Skiles, Officer, James Neimer, Officer, AndrewMorgan, Officer, Jeff Crouse, Officer, Ken Switzer, Officer,Ralph Anderson, Officer, Guarini, Warden, Nancy, Nurse, AnnNewcomer, Nurse, Jeff Krause, Officer, Nancey Moyer, Nurse,St. Joseph Hospital, et al.
    NO. 97-1710
    United States Court of Appeals,Third Circuit.
    February 17, 1999
    
      1
      Appeal From:  E.D.Pa.
    
    
      2
      Affirmed.
    
    